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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                            Criminal Case No.
UNITED STATES OF AMERICA

                            Complainant,                    1:21-cr-28-8-APM
            v.

KELLY MEGGS
                                                            Assigned to the Honorable
                                                            Amit Mehta, District
(Styled as USA v. Thomas Edward Caldwell
                                                            Court Judge
incorporating cases against multiple Defendants)
                           Defendant



          DEFENDANT KELLY MEGGS’ NOTICE OF LEGAL AUTHORITY,
            RECENTLY RELEVANT BY SUPERSEDING INDICTMENT


       COMES NOW Defendant Kelly Meggs, by counsel, and hereby files the attached legal

authority. Although not new authority, it is newly-relevant by the new charge of seditious

conspiracy added in the Seventh Superseding Indictment.


Dated: January 17, 2022                    RESPECTFULLY SUBMITTED
                                           KELLY MEGGS, By Counsel




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                                     Virginia State Bar No. 41058
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                                 CERTIFICATE OF SERVICE

            I hereby certify that on January 17, 2022, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participants. From my review of the PACER / ECF docket
records for this case that the following attorneys will receive notice through the ECF system of
the U.S. District Court for the District of Columbia.

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